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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
              Reorganized Debtor.       )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                   Plaintiff,           )
vs.                                     )                                   Adv. Pro. No. 21-03006 (SGJ)
                                        )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC., JAMES DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST            )
                                        )
                   Defendants.          )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 21, 2022, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:




                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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      Highland Capital Management, L.P.’s Reply in Further Support of its Motion for
       Leave to Supplement Backup Documentation in Support of Proposed Judgment
       [Docket No. 233]


Dated: October 25, 2022
                                               /s/ Aljaira Duarte
                                               Aljaira Duarte
                                               KCC
                                               222 N Pacífic Coast Highway, Suite 300
                                               El Segundo, CA 90245




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                               EXHIBIT A
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                                                                   A
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                                                        Adversary Service List
                                                       Served via Electronic Mail


              Description                   CreditorName               CreditorNoticeName                          Email
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 Financial Advisor to Official Committee
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 Counsel for Nancy Dondero               Greenberg Traurig, LLP    Daniel P. Elms                elmsd@gtlaw.com
                                         Hayward & Associates      Melissa S. Hayward, Zachery Z.MHayward@HaywardFirm.com;
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 Management Services, Inc. and HCRE
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 Management Services, Inc.              Martin, LLP                Jeffrey W. Hellberg Jr.          jeff.hellberg@wickphillips.com




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